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                                 UNITED STATES BANKRUPTCY COURT
                                     Southern District of Texas
In re: Lorena A. De La Madrid                                        Case No: 09-10167
                                                                     Chapter: 13
Last four digits of any number you use to identify the debtor’s account: 3789
Court Claim No. (if known): 11

                           STATEMENT IN RESPONSE TO NOTICE OF FINAL CURE PAYMENT
As contemplated by Fed. R. Bankr. Proc. 3002.1
Citimortgage, Inc.
(“Creditor”) hereby responds to that certain Notice of Final Cure Payment (“Cure Notice”)
GDWHG   5/14/14          DQGILOHGDV'RFNHW1R   106

                                                         Prepetition Default Payments                    Applicable option is checked

✔       $JUHHVWKDW'HEWRU V KDVSDLGLQIXOOWKHDPRXQWUHTXLUHGWRFXUHWKHGHIDXOWRQ&UHGLWRU¶VFODLP

        'LVDJUHHVWKDW'HEWRU V KDVSDLGLQIXOOWKHDPRXQWUHTXLUHGWRFXUHWKHGHIDXOWRQ&UHGLWRU¶VFODLPDQGVWDWHVWKDW
        WKHWRWDODPRXQWGXHWRFXUH3UHSHWLWLRQDUUHDUVLV
       Total Amount Due:
Attached as Schedule of Amounts Outstanding on Prepetition Claim is an itemized account of the Prepetition amounts
that remain unpaid as of the date of this statement.

                                                      Postpetition Default Payments                      Applicable option is checked

✔       $JUHHVWKDW'HEWRU V LVFXUUHQWZLWKUHVSHFWWRDOOSD\PHQWVFRQVLVWHQWZLWK E  RIWKH%DQNUXSWF\&RGH

        'LVDJUHHVWKDWWKH'HEWRU V LVFXUUHQWZLWKUHVSHFWWRDOOSD\PHQWVFRQVLVWHQWZLWK E  DQGVWDWHVWKDWWKH
        WRWDODPRXQWGXHWRFXUH3RVWSHWLWLRQDUUHDUVLV
       Total Amount Due:
Attached as Schedule of Amounts Outstanding Postpetition Claim is an itemized account of the Postpetition amounts
that remain unpaid as of the date of the Cure Notice. The amounts outstanding identified on the Schedule do not reflect
amounts that became or may become due after the date of the Cure Notice, including any fees that may have been
incurred in the preparation, filing, or prosecution of this statement.


The amounts due identified on this statement may not, due to timing, reflect all payments sent to Creditor as of the date
of the Cure Notice. In addition, the amounts due may include payments reflected on the NDC but which have not yet
been received and/or processed by Creditor.

Date: 5/27/2014

                                                          Signature: /s/Jigna M. Patel
                                                               Title:Bankruptcy Specialist III
                                                          Company:   Citimortgage, Inc.
                                                            Address: P. O. BOX 6040
                                                                     Souix Falls, SD 57117
                                                             Phone: (866)613-5636
                                                              Email: citibkaudit@citi.com

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                                Case No:   09-10167
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                UNITED STATES BANKRUPTCY COURT
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                  Schedule of Amounts Outstanding Prepetition Claim
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                 UNITED STATES BANKRUPTCY COURT
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                  Schedule of Amounts Outstanding Postpetition Claim
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     3D\PHQW'HVFULSWLRQ           3D\PHQW'DWH             3D\PHQW$PRXQW
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           installment                5/1/14
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                               UNITED STATES BANKRUPTCY COURT
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                                                  Certificate of Service
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,KHUHE\FHUWLI\WKDWDFRS\RIWKHIRUHJRLQJ6WDWHPHQWLQ5HVSRQVHWR1RWLFHRI)LQDO&XUH3D\PHQWZDVVHUYHGRQWKH
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7UXVWHH$GGUHVV                 
                              555 N Carancahua
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                              Corpus     Christi, TX 78401-0823
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                               Abelardo    Limon, Jr
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'HEWRU¶V&RXQVHO$GGUHVV Limon Law Office PC
                              890 W Price Rd
                                 
                               Brownsville,   TX 78520
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'HEWRU1DPH                   
                              Lorena    A. De La Madrid
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                              2983 Fairfield Drive
                                 
                              Brownsville, TX 78526
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                                                      Signature: /s/Jigna M. Patel
                                                           Title:Bankruptcy Specialist III
                                                      Company:   Citimortgage, Inc.
                                                        Address: P. O. BOX 6040
                                                                 Souix Falls, SD 57117
                                                         Phone: (866)613-5636
                                                          Email: citibkaudit@citi.com
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